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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9
      WASTE ACTION PROJECT,               )
10                                        )
                    Plaintiff,            )
11    v.                                  )
                                          )                   COMPLAINT
12    QUIGG BROS., INC.,                  )
                                          )
13                  Defendant.            )
                                          )
14    ___________________________________ )

15                                       I.     INTRODUCTION

16          1.      This action is a citizen suit brought under Section 505 of the Clean Water Act

17   (“CWA”) as amended, 33 U.S.C. § 1365. Plaintiff, Waste Action Project, seeks declaratory

18   judgment, injunctive relief, the imposition of civil penalties, and the award of costs, including

19   attorneys’ and expert witnesses’ fees, for Defendant Quigg Bros., Inc. (“Quigg”), repeated and

20   ongoing violations of: (1) the terms and conditions of the National Pollutant Discharge

21   Elimination System (“NPDES”) permit authorizing certain stormwater discharges of pollutants

22   from its facility in Aberdeen, Washington to navigable waters, and (2) Section 301(a) of the

23   CWA, 33 U.S.C. § 11(a) for discharging of pollutants, including non-stormwater direct

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      COMPLAINT - 1
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 1   discharges of process wastewater, ballast water, and solid debris, from the over-water area of its

 2   facility, where it conducts shipbuilding activities, directly to the Chehalis River, which is a water

 3   of the United States, via point source without authorization by a NPDES permit.

 4                                II.     JURISDICTION AND VENUE

 5          2.      The Court has subject matter jurisdiction over Waste Action Project’s claims

 6   under Section 505(a) of the CWA, 33 U.S.C. § 1365(a). Sections 309(d) and 505(a) and (d) of

 7   the CWA, 33 U.S.C. §§ 1319(d) and 1365(a) and (d), authorize the relief Waste Action Project

 8   requests.

 9          3.      Under Section 505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A), Waste

10   Action Project notified Defendant of their violations of the CWA and of Waste Action Project’s

11   intent to sue under the CWA by letter dated and postmarked October 7, 2024 (“Notice Letter”).

12   A copy of the Notice Letter is attached to this complaint as Exhibit 1. The allegations in the

13   Notice Letter are incorporated herein by this reference. In accordance with section 505(b)(1)(A)

14   of the CWA, 33 U.S.C. § 1365(b)(1)(A) and 40 C.F.R. § 135.2(a)(1), Waste Action Project

15   notified the Administrator of the United States Environmental Protection Agency (“EPA”), the

16   Administrator of EPA Region 10, and the Director of the Washington Department of Ecology

17   (“Ecology”) of its intent to sue Defendant by mailing copies of the Notice Letter to these

18   individuals on October 7, 2024.

19          4.      At the time of the filing of this Complaint, more than sixty days have passed since

20   the Notice Letter and copies thereof were issued in the manner described in the preceding

21   paragraph.

22          5.      The violations complained of in the Notice Letter are continuing and/or are

23   reasonably likely to re-occur.

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      COMPLAINT - 2
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 1          6.        At the time of the filing of this Complaint, neither the EPA nor Ecology has

 2   commenced any action constituting diligent prosecution to redress the violations alleged in the

 3   Notice Letter.

 4          7.        The source of the violations complained of is in Grays Harbor County,

 5   Washington, within the Western District of Washington, and venue is therefore appropriate in

 6   the Western District of Washington under Section 505(c)(1) of the CWA, 33 U.S.C. §

 7   1365(c)(1), and 28 U.S.C. § 1391(b).

 8                                            III.    PARTIES

 9          8.        Waste Action Project is suing on behalf of itself and its members.

10          9.        Waste Action Project is a non-profit corporation organized under the laws of the

11   state of Washington. Waste Action Project is dedicated to protecting and preserving the

12   environment of Washington State, especially the quality of its waters. Waste Action Project is a

13   membership organization and has at least one member who is injured by Quigg’s violations.

14          10.       Waste Action Project has representational standing to bring this action. Waste

15   Action Project’s members are reasonably concerned about the effects of discharges of pollutants,

16   including stormwater from Quigg’s facility, and non-stormwater direct discharges of process

17   wastewater, ballast water, and solid debris, from the over-water area of its facility, where it

18   conducts shipbuilding activities, on water quality and aquatic species and wildlife that Waste

19   Action Project’s members observe, study, use, and enjoy. Waste Action Project’s members are

20   further concerned about the effects of discharges from Quigg’s facility on human health. In

21   addition, discharges from Quigg’s facility lessen Waste Action Project’s members’ aesthetic

22   enjoyment of nearby areas. Waste Action Project has members who live, work, fish, and recreate

23   around or use the Chehalis River and Grays Harbor, which are affected by Quigg’s discharges.

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      COMPLAINT - 3
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 1   Waste Action Project’s members’ concerns about the effects of Quigg’s discharges are

 2   aggravated by Quigg’s failure to record and timely report information about its discharges and

 3   pollution controls in a timely manner, and by Quigg’s failure to obtain and comply with the

 4   permit necessary to cover discharges from its shipbuilding activities. The recreational, scientific,

 5   economic, aesthetic, and/or health interests of Waste Action Project and its members have been,

 6   are being, and will be adversely affected by Quigg’s violations of the CWA. The relief sought in

 7   this lawsuit can redress the injuries to these interests.

 8           11.     Waste Action Project has organizational standing to bring this action. Waste

 9   Action Project has been actively engaged in a variety of educational and advocacy efforts to

10   improve water quality and to address sources of water quality degradation in the waters of

11   Western Washington, including the Chehalis River and Grays Harbor. As detailed herein and in

12   the Notice Letter, Quigg has violated numerous provisions of its NPDES permit including

13   requirements concerning corrective actions, compliance with water quality standards, sampling,

14   Stormwater Pollution Prevention Plan, monitoring, recordkeeping, and permit violation

15   reporting. Quigg has also failed to obtain NDPES permit coverage for its over-water ship

16   building activities, as required by the CWA. As a result, Waste Action Project is deprived of

17   information necessary to properly serve its members by providing information and taking

18   appropriate action to advance its mission. Waste Action Project’s efforts to educate and advocate

19   for greater environmental protection, and to ensure the success of environmental restoration

20   projects implemented for the benefit of its members are also obstructed. Finally, Waste Action

21   Project and the public are deprived of information that influences members of the public to

22   become members of Waste Action Project, thereby reducing Waste Action Project’s membership

23   numbers. Thus, Waste Action Project’s organizational interests have been adversely affected by

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      COMPLAINT - 4
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 1   Quigg’s violations. These injuries are fairly traceable to Quigg’s violations and are redressable

 2   by the Court.

 3          12.      Defendant Quigg is a corporation authorized to conduct business under the laws

 4   of the state of Washington.

 5          13.      Defendant owns and operates the heavy construction and water transportation

 6   facility located at or about 1021 River Street, Aberdeen, WA 98520 (referred to herein as the

 7   “Facility”).

 8                                  IV.     LEGAL BACKGROUND

 9          14.      Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the discharge of

10   pollutants by any person, unless in compliance with the provisions of the CWA. A discharge of a

11   pollutant from a point source to waters of the United States without authorization by a NPDES

12   permit, issued under Section 402 of the CWA, 33 U.S.C. § 1342, is prohibited.

13          15.      The state of Washington has established a federally approved state NPDES

14   program administered by Ecology. Wash. Rev. Code § 90.48.260; Wash. Admin. Code ch. 173-

15   220. This program was approved by the Administrator of the EPA pursuant to Section 402(b) of

16   the CWA, 33 U.S.C. § 1342(b).

17          16.      Under Section 402 of the CWA, 33 U.S.C. § 1342, Ecology has repeatedly issued

18   iterations of the Industrial Stormwater General Permits, most recently on November 20, 2019,

19   effective January 1, 2020, and set to expire December 31, 2024 (the “2020 ISGP Permit”). The

20   previous permit was issued December 3, 2014, became effective January 2, 2015, and expired

21   December 31, 2019 (the “2015 ISGP Permit”). The 2015 ISGP Permit and 2020 ISGP Permit

22   (collectively, “the Permit”), contain substantially similar requirements and authorize those that

23   obtain coverage thereunder to discharge only stormwater associated with industrial activity, a

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      COMPLAINT - 5
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 1   pollutant under the CWA, and other pollutants contained in the stormwater to waters of the

 2   United States subject to certain terms and conditions. Ecology issued the forthcoming permit on

 3   December 2, 2024, which will go into effect on January 1, 2025 (the “2025 ISGP”). The terms of

 4   the 2025 ISGP are substantially similar to those of the 2015 ISGP and 2020 ISGP, and its terms

 5   require implementation of source control and treatment best management practices from the

 6   2015 ISGP and 2020 ISGP. All of the ongoing violations alleged in this Complaint will continue

 7   to be ongoing at the time the 2025 ISGP goes into effect.

 8          17.     The Permit imposes certain terms and conditions on those covered thereby,

 9   including requirements for monitoring and sampling of discharges, reporting and recordkeeping

10   requirements, and restrictions on the quality of stormwater discharges. To reduce and eliminate

11   pollutants in stormwater discharges, the Permit requires, among other things, that permittees

12   develop and implement best management practices (“BMPs”) and a Stormwater Pollution

13   Prevention Plan (“SWPPP”), and apply all known and reasonable methods of prevention,

14   control, and treatment (“AKART”) to discharges. The specific terms and conditions of the

15   Permit are described in detail in the Notice Letter, attached hereto as Exhibit 1 and incorporated

16   herein by this reference.

17                                             V.      FACTS

18          18.     Defendant Quigg operates an industrial facility located at 1021 River St,

19   Aberdeen, WA 98520 (the “Facility”) is engaged in industrial activities, including staging for

20   heavy construction work, scrap and waste material storage and processing, material storage and

21   wholesale, and water transportation of freight, along the shoreline of the Chehalis River. The

22   Facility has multiple distinct points of discharge where stormwater and pollutants associated with

23   industrial activity leave the Facility and enter the Chehalis River.

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      COMPLAINT - 6
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 1          19.     Ecology granted Quigg coverage for the Facility under the 2015 ISGP Permit

 2   under Permit number WAR003948. Ecology granted subsequent coverage under the 2020 ISGP

 3   Permit under the same permit number, WAR003948.

 4          20.     On information and belief, Quigg was contracted by Circle Seafoods to do

 5   construction work on a refrigerated storage barge at the facility’s dock.

 6          21.     Circle Seafoods operates on a portion of Quigg’s facility, including the dock and

 7   over-water portion. Quigg and Circle Seafoods have entered into a “Mooring and Yard Lease

 8   Agreement.”

 9          22.     Circle Seafoods and Quigg have conducted over-water construction work on the

10   refrigerated storage barge which has resulted in direct discharges of non-stormwater, including

11   but not limited to process wastewater, ballast water, and solid debris.

12          23.     Construction work on the refrigerated storage barge is ongoing.

13          24.     As the owner of the facility exercising significant control over the activities at the

14   facility, Quigg is liable under the CWA for the violations at the facility alleged in this Complaint.

15          25.     Quigg has the power and capacity to make timely discovery of discharges at the

16   facility, direct the activities of those who control the mechanisms causing the pollution at the

17   facility, and prevent and abate damage associated with the discharges.

18          26.     Defendant’s ship-building activities and those of its tenant and customer, Circle

19   Seafoods, and the associated discharges are not covered under the Permit. Defendant is therefore

20   operating at this location and discharging industrial pollutants from it without an NPDES permit

21   in violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a). Defendant’s unpermitted

22   discharges in violation of 33 U.S.C. 1365(f)(1) and 33 U.S.C. 1311(a) are set forth in section IX

23   of the Notice Letter attached hereto as Exhibit 1 and are incorporate herein by this reference.

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      COMPLAINT - 7
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 1          27.     Defendant has violated and continues to violate the “effluent limitations and

 2   standards” as defined by 33 U.S.C. §1365(f), including: (1) by violating its NPDES Permit, 33

 3   U.S.C. § 1365(f)(7), and (2) by discharging without authorization of a NPDES permit, 33 U.S.C.

 4   § 1365(f)(1). Defendant’s violations of the Permit are set forth in sections I through VIII of the

 5   Notice Letter attached hereto as Exhibit 1 and are incorporated herein by this reference. In

 6   particular, and among the other violations described in the Notice letter, Defendant has violated

 7   the Permit by failing to comply with water quality standards, failing to comply with AKART

 8   standards, failing to implement BMPs to control water quality, failing to prepare and implement

 9   an adequate SWPPP, failing to collect quarterly samples, failing to correctly and timely submit

10   discharge monitoring reports, failing to correctly and timely submit annual reports, failing to

11   comply with visual monitoring requirements, failing to implement applicable corrective actions,

12   failing to record information, failing to retain records, failing to report Permit violations, failing

13   to allow entry and inspection, failing to apply for modification of coverage.

14          28.     Defendant discharges stormwater from the facility that contains levels of

15   pollutants that exceed the benchmark values established in the Permit, including the days on

16   which Defendant collected samples with the results identified in Table 1, and is likely to

17   continue discharging comparably unacceptable levels of pollutants in stormwater:

18   Table 1. Benchmark Exceedances
     Quarter in which      Copper
19   sample was collected (benchmark
     and monitoring point 14 µg/L)
20   4Q 2019               49.1
     WSW*
21   1Q 2020               18
     WSW
22   4Q 2022               22.4
     WSW
23   *WSW is a monitoring point designation used and known by Quigg.

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      COMPLAINT - 8
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 1          29.     Defendant’s stormwater discharges are causing or contributing to violations of

 2   water quality standards and therefore violate Permit Condition S10.A. Discharges from

 3   Defendant’s facility contribute to the polluted conditions of the waters of the state, including the

 4   water quality standards of the Chehalis River and Grays Harbor. Discharges from Defendant’s

 5   facility contribute to the ecological impacts that result from the pollution of these waters and to

 6   Waste Action Project and its members’ injuries resulting therefrom. These requirements and

 7   Defendant’s violations thereof are described in detail in section I.A of the Notice Letter, attached

 8   hereto as Exhibit 1, and incorporated herein by this reference.

 9          30.     Defendant’s elevated levels of copper and other pollutants, lack of BMPs, and

10   failure to perform corrective actions all indicate that Defendant is failing to apply AKART to its

11   discharges and is failing to implement an adequate SWPPP and BMPs. Defendant violated and

12   continue to violate Permit Conditions S10 and S3 by not developing, modifying, and/or

13   implementing BMPs in accordance with the requirements of the Permit, and/or by not applying

14   AKART to discharges from the facility. These requirements and Defendant’s violations thereof

15   are described in detail in section I.B and section II of the Notice Letter, attached as Exhibit 1,

16   and incorporated herein by this reference.

17          31.     Defendant has violated and continues to violate the monitoring requirements of

18   the Permit, Conditions S3, S4, S7, and S9. Defendant has failed to sample its stormwater

19   discharges once during every calendar quarter at each distinct point of discharge offsite except

20   for substantially identical outfalls. Defendant has failed to collect and analyze stormwater

21   samples from its dock, among other locations. Defendant has failed to correctly and timely

22   submit discharge monitoring reports required by Condition S9.B of the Permit. Defendant has

23   failed to timely submit compliant Annual Reports as required by Condition S9.B of the Permit.

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      COMPLAINT - 9
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 1   Defendant has failed to comply with visual monitoring requirements required by Permit

 2   Condition S7 by failing to conduct Industrial Stormwater Monthly Inspection Reports by

 3   qualified personnel each and every month for the last five years. Defendant’s violations of the

 4   Permit’s monitoring requirement are described in section III of the Notice Letter, attached hereto

 5   as Exhibit 1, and incorporated herein by this reference. All these violations are reasonably likely

 6   to recur.

 7           32.    Defendant has failed to implement source control or treatment BMPs as required

 8   by Condition S8.A of the Permit. Defendant has failed to comply with Level One Corrective

 9   Action requirements as required by Condition S8.B of the Permit, including for the total copper

10   exceedances reflected in Table 1 above. These requirements and Defendant’s violations thereof

11   are described in section IV.A and IV.B of the Notice Letter, attached hereto as Exhibit 1, and are

12   incorporated herein by this reference. These violations are reasonably likely to recur.

13           33.    Defendant has violated and continues to violate the recordkeeping requirements of

14   Permit Condition S4.B. Defendant does not record and retain specified information for each

15   stormwater sample taken, including the sample date and time, a notation describing if Defendant

16   collected the sample within the first 12 hours of stormwater discharge event, an explanation of

17   why Defendant could not collect a sample within the first 12 hours of a stormwater discharge

18   event, the sample location, method of sampling and of preservation, and the individual

19   performing the sampling, as required by the Permit Condition. These requirements and

20   Defendant’s violations thereof are described in section V.A of the Notice Letter, attached hereto

21   as Exhibit 1, and are incorporated herein by this reference. These violations are reasonably likely

22   to recur.

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      COMPLAINT - 10
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 1          34.     Defendant has violated and continues to violate the recordkeeping requirements of

 2   2015 ISGP Permit Condition S9.C, and 2020 Permit Condition S9.D. Defendant does not retain

 3   for a minimum of five years a copy of the current Permit, a copy of Defendant’s coverage letter,

 4   records of all sampling information, inspection reports including required documentation, any

 5   other documentation of compliance with permit requirements, all equipment calibration records,

 6   all BMP maintenance records, all original recordings for continuous sampling instrumentation,

 7   copies of all laboratory results, copies of all required reports, and records of all data used to

 8   complete the application for the Permit, as required by the Permit Conditions. These

 9   requirements and Defendant’s violations thereof are described in section V.B of the Notice

10   Letter, attached hereto as Exhibit 1, and are incorporated herein by this reference. These

11   violations are reasonably likely to recur.

12          35.     Conditions S9.E of the 2015 ISGP Permit and S9.F of the 2020 ISGP Permit

13   require Defendant to take certain actions, including reporting to Ecology, in the event Defendant

14   is unable to comply with any terms and conditions of the Permit which may endanger human

15   health or the environment. Defendant has failed to comply with these requirements of the Permit

16   by failing to report and subsequently correct permit violations, including each and every time

17   Defendant failed to sample a stormwater discharge as described above in paragraph 31, and each

18   and every time Defendant failed to comply with a corrective action requirement as described

19   above in paragraph 32. These requirements and Defendant’s violations thereof are described in

20   section VI of the Notice Letter, attached hereto as Exhibit 1, and are incorporated herein by this

21   reference. These violations are reasonably likely to recur.

22          36.     Condition G3 of the Permit requires Defendant to allow authorized

23   representatives of Ecology to enter its premises, to gain access to records, to inspect the facility,

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      COMPLAINT - 11
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 1   and to sample substances for the purposes of assuring permit compliance. Defendant has violated

 2   these requirements by repeatedly denying Ecology entry and inspection. These requirements and

 3   Defendant’s violations thereof are described in section VII of the Notice Letter, attached hereto

 4   as Exhibit 1, and are incorporated herein by this reference. These violations are reasonably likely

 5   to recur.

 6           37.    Condition S2.B of the Permit requires Defendant to submit a Modification of

 7   Coverage Form to Ecology when it anticipates a significant process change. Condition G19 of

 8   the Permit requires Defendant to give Ecology notice of a significant process change. Defendant

 9   failed to comply with these requirements when it initiated marine construction and ship building

10   activities without submitting a Modification of Coverage Form or providing Ecology with notice.

11   These requirements and Defendant’s violations thereof are described in section VIII of the

12   Notice Letter, attached hereto as Exhibit 1, and are incorporated herein by this reference. These

13   violations are reasonably likely to recur.

14           38.    A significant penalty should be imposed against Defendant under the penalty

15   factors set forth in 33 U.S.C. § 1319(d).

16           39.    Defendant’s violations were avoidable had Defendant been diligent in overseeing

17   facility operations and maintenance.

18           40.    Defendant benefitted economically as a consequence of its violations and failure

19   to implement improvements at the facility.

20           41.    Defendant’s violations caused and contributed to pollution in the water column

21   and sediments of the receiving water, which may be ameliorated by an order from the Court

22   requiring clean up or monitoring.

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      COMPLAINT - 12
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 1                      VI.    FIRST CAUSE OF ACTION: PERMIT VIOLATIONS

 2          42.         The preceding paragraphs and the allegations in the Notice Letter attached hereto

 3   as Exhibit 1 are incorporated herein.

 4          43.         Defendant’s violations of the Permit described herein and in the Notice Letter

 5   constitute violations of sections 301 of the Clean Water Act, 33 U.S.C. §§ 1311, and violations

 6   of “effluent standard(s) or limitation(s)” as defined by section 505, 33 U.S.C. § 1365.

 7          44.         No agency has taken an enforcement action constitution diligent prosecution or

 8   otherwise precluding claims under 33 U.S.C. §§ 1319 or 1365(a).

 9          45.         Prior notice of violations and claims was provided to Defendant and others as

10   required.

11          46.         These violations committed by Defendant are ongoing or are reasonably likely to

12   continue to occur. Any and all additional violations of the Permit and the CWA which occur

13   after those described in Waste Action Project’s Notice Letter, but before a final decision in this

14   action, should be considered ongoing violations subject to this Complaint.

15          47.         Without the imposition of appropriate civil penalties and the issuance of an

16   injunction, Defendant is likely to continue to violate the Permit and the CWA to the further

17   injury of Waste Action Project, its members, and others.

18               VII.     SECOND CAUSE OF ACTION: UNPERMITTED DISCHARGE

19          48.         The preceding paragraphs and the allegations in the Notice Letter attached hereto

20   as Exhibit 1 are incorporated herein.

21          49.         By discharging non-stormwater from the over-water portion of the Facility where

22   it conducts shipbuilding activities, Defendant is violating section 301(a) of the CWA, 33 U.S.C.

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      COMPLAINT - 13
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 1   § 1311(a). This constitutes a violation of an “effluent standards or limitations” under the CWA

 2   per 33 U.S.C. § 1365(f)(1).

 3             50.    No agency has taken an enforcement action constitution diligent prosecution or

 4   otherwise precluding claims under 33 U.S.C. §§ 1319 or 1365(a).

 5             51.    Prior notice of violations and claims was provided to Defendant and others as

 6   required.

 7             52.    These violations committed by Defendant are ongoing or are reasonably likely to

 8   continue to occur. Any and all additional violations of the CWA which occur after those

 9   described in Waste Action Project’s Notice Letter, but before a final decision in this action,

10   should be considered ongoing violations subject to this Complaint.

11             53.    Without the imposition of appropriate civil penalties and the issuance of an

12   injunction, Defendant is likely to continue to violate the CWA to the further injury of Waste

13   Action Project, its members, and others.

14                                     VIII. RELIEF REQUESTED

15             Wherefore, Waste Action Project respectfully requests that this Court grant the following

16   relief:

17             A.     Issue a declaratory judgment that Defendant has violated and continues to be in

18   violation of the Permit and the CWA

19             B.     Enjoin Defendant from operating the facility in a manner that results in further

20   violations of the Permit and the CWA;

21             C.     Order Defendant to cease shipbuilding activities until it applies for and receives

22   an NPDES permit for shipbuilding activities.

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 1          D.      Order Defendant to immediately implement a SWPPP that complies with the

 2   2025 ISGP Permit at the facility;

 3          E.      Order Defendant to allow Waste Action Project to participate in the development

 4   and implementation of Defendant’s SWPPP and compliance plan;

 5          F.      Order Defendant to provide Waste Action Project, for a period beginning on the

 6   date of the Court’s Order and running for three years after Defendant achieves compliance with

 7   all of the conditions of the Permit, with copies of all reports and other documents which

 8   Defendant submits to Ecology regarding Defendant’s coverage under the Permit at the facility at

 9   the time these documents are submitted;

10          G.      Order Defendant to take specific actions to remediate the environmental harm

11   caused by its violations;

12          H.      Order Defendant to pay civil penalties of $66,712 per day of violation for each

13   violation committed by Defendant, pursuant to Sections 309(d) and 505(a) of the CWA, 33

14   U.S.C. §§ 1319(d) and 1365(a), and 40 C.F.R. § 19 and 19.4;

15          I.      Award Waste Action Project its litigation expenses, including reasonable

16   attorneys’ and expert witness fees, as authorized by Section 505(d) of the CWA, 33 U.S.C. §

17   1365(d), and any other applicable authorization; and

18          J.      Award such other relief as this Court deems appropriate.

19

20          RESPECTFULLY SUBMITTED this 11th day of December, 2024.

21

22                  By:     s/Alyssa Koepfgen
                            Alyssa Koepfgen, WSBA #46773
23                          s/Katelyn Kinn
                            Katelyn Kinn, WSBA #42686
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      COMPLAINT - 15
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 4                    katelyn@smithandlowney.com

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     COMPLAINT - 16
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Exhibit 1
                                         October 7, 2024

Via Certified Mail - Return Receipt Requested

Managing Agent
Quigg Bros., Inc.
1021 River St
Aberdeen, WA 98520

Quigg Bros., Inc.
819 W. State St.
PO Box 1707
Aberdeen, WA 98520-5934

Re:    NOTICE OF INTENT TO SUE UNDER THE CLEAN WATER ACT AND
       REQUEST FOR COPY OF STORMWATER POLLUTION PREVENTION PLAN

Dear Managing Agent:

         We represent Waste Action Project (“WAP”), P.O. Box 9281, Covington, WA 98042,
(206) 849-5927. Any response or correspondence related to this matter should be directed to us
at the letterhead address (2317 E John St, Seattle, WA 98112). This letter is to provide you with
sixty days’ notice of WAP’s intent to file a citizen suit against Quigg Bros., Inc. (“Quigg”),
under section 505 of the Clean Water Act (“CWA”), 33 U.S.C. § 1365, for the violations
described below. This letter is also a request for a copy of the complete and current stormwater
pollution prevention plan (“SWPPP”) required by Quigg’s National Pollution Discharge
Elimination System (“NPDES”) permit.

        Quigg was granted coverage under the Industrial Stormwater General Permit (“ISGP”)
issued by the Washington Department of Ecology (“Ecology”) effective September 20, 2002
under permit number S03003948. Ecology granted Quigg coverage under the next iteration of
the ISGP effective January 1, 2010 under NPDES No. WAR003948, and has since granted
Quigg coverage under each successive iteration of the ISGP under the same permit number,
WAR003948, including the ISGP effective January 1, 2015 (the “2015 Permit”) and the ISGP
effective January 1, 2020, at set to expire on December 31, 2024 (the “2020 Permit”).
       Quigg has violated and continues to violate effluent standards and limitations under the
CWA (see 33 U.S.C. § 1365(f)) including the terms and conditions of the Permit with respect to
operations of, and discharges of stormwater and pollutants from its facility located at or about
1021 River Street, Aberdeen, Washington 98520 (the “facility”) as described herein, to the
Chehalis River. The facility subject to this notice includes any contiguous or adjacent properties
owned or operated by Quigg.

I.     COMPLIANCE WITH APPLICABLE STANDARDS

       A. Compliance with Water Quality Standards

        Condition S10.A of the Permits prohibits discharges that cause or contribute to violations
of water quality standards. Water quality standards are the foundation of the CWA and
Washington’s efforts to protect clean water. In particular, water quality standards represent the
U.S. Environmental Protection Agency (“EPA”) and Ecology’s determination, based on
scientific studies, of the thresholds at which pollution starts to cause significant adverse effects
on fish or other beneficial uses. For each water body in Washington, Ecology designates the
“beneficial uses” that must be protected through the adoption of water quality standards.

        A discharger must comply with both narrative and numeric criteria water quality
standards. WAC 173-201A-010; WAC 173-201A-510 (“No waste discharge permit can be
issued that causes or contributes to a violation of water quality criteria, except as provided for in
this chapter.”). Narrative water quality standards provide legal mandates that supplement the
numeric criteria. Furthermore, the narrative water quality standard applies with equal force even
if Ecology has established a numeric water quality standard. Specifically, Condition S10.A of the
Permits requires that Quigg’s discharges not cause or contribute to an excursion of Washington
State water quality standards.

        Quigg discharges to the Chehalis River. Quigg discharges stormwater that contains
elevated levels of copper as indicated in discharge monitoring data reported under the Permit, as
indicated in the table of benchmark excursions below. These discharges cause and/or contribute
to violations of water quality standards for copper in the Chehalis River and have occurred each
and every day during the last five years on which there was 0.1 inch or more of precipitation, and
continue to occur. See WASH. ADMIN. CODE §§ 173-201A-200 (fresh water designated uses
and criteria), (1)(a)(b) (general criteria that apply to all aquatic life fresh water uses), 2(a)
(general criteria applicable to fresh water recreational uses), (4) (miscellaneous uses including
wildlife habitat, harvesting commerce and navigation, boating, and aesthetics general criteria); §
173-201A-240 (toxic substances criteria for copper), 173-201A-260 (natural conditions and
other water quality criteria and applications), 173-201A-600 (use designations – fresh waters);
173-201A-602 (use designations for the Chehalis River including aquatic life use:
spawning/rearing; recreation use: primary contact; water supply uses: domestic, industrial,
agricultural, and stock water; miscellaneous uses: wildlife habitat, harvesting,
commerce/navigation, boating, aesthetics).




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Table 1. Benchmark Exceedances

    Quarter in   Copper
    which        (benchmark
    sample was   14 µg/L)
    collected
    and
    monitoring
    point
    4Q 2019      49.1
    WSW*
    1Q 2020      18
    WSW
    4Q 2022      22.4
    WSW
*WSW is a monitoring point designation used and known by Quigg

       Moreover, the discharges Quigg has sampled and reported underrepresent the polluted
condition of its facility discharges, as explained below.

          B.      Compliance with AKART Standards

       Condition S10.C of the Permits requires Quigg to apply all known and reasonable
methods of prevention, control, and treatment (“AKART”) to all discharges, including
preparation and implementation of an adequate SWPPP and best management practices
(“BMPs”). Quigg has violated and continues to violate these conditions by failing to apply
AKART to its discharges or to implement an adequate SWPPP and BMPs as evidenced by the
elevated levels of pollutants in its discharge as described below in this Notice of Intent to Sue.

        Condition S1.A of the Permits requires that all discharges and activities authorized be
consistent with the terms and conditions of the Permit. Quigg has violated these conditions by
discharging and acting inconsistent with the conditions of the Permit as described in this Notice
of Intent to Sue.

II.       STORMWATER POLLUTION PREVENTION PLAN VIOLATIONS

          Quigg is in violation of the Permit’s SWPPP provisions as follows:

        1. Condition S3.A of the Permits requires Quigg to develop and implement a SWPPP that
contains specified components. Condition S3.A.2 of the 2015 Permit and S3.A.1 of the 2020
Permit require the SWPPP to specify BMPs necessary to provide AKART and ensure that
discharges do not cause or contribute to violations of water quality standards. Quigg has violated
these requirements of the Permit each and every day for the last five years and continues to
violate them as it has failed to prepare and/or implement a SWPPP that includes AKART BMPs
and BMPs necessary to comply with state water quality standards.

       2. Condition S3.A of the Permits requires Quigg to have and implement a SWPPP that is
consistent with permit requirements, fully implemented as directed by permit conditions, and


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updated as necessary to maintain compliance with permit conditions. Quigg has violated these
requirements of the Permit each and every day for the last five years and continues to violate
them because its SWPPP is not consistent with permit requirements, has not been fully
implemented, and has not been updated as necessary, including correcting any deficiencies
within 30 days of notice.

         3. The SWPPP fails to satisfy the requirements of Condition S3 of the Permits because it
does not adequately describe BMPs. Condition S3.B.4 of the Permits requires that the SWPPP
include a description of the BMPs that are necessary for the facility to eliminate or reduce the
potential to contaminate stormwater. Condition S3.A.3 of the 2015 Permit and S3.A.2 of the
2020 Permit require that the SWPPP include BMPs consistent with approved stormwater
technical manuals or document how stormwater BMPs included in the SWPPP are
demonstratively equivalent to the practices contained in the approved stormwater technical
manuals, including the proper selection, implementation, and maintenance of all applicable and
appropriate BMPs. See Stormwater Management Manual for Western Washington, July 2019,
https://fortress.wa.gov/ecy/ezshare/wq/Permits/Flare/2019SWMMWW/Content/Resources/Docs
ForDownload/2019SWMMWW.pdf. Quigg ’s SWPPP does not comply with these requirements
because it does not adequately describe BMPs and does not include BMPs consistent with
approved stormwater technical manuals nor does it include BMPs that are demonstratively
equivalent to such BMPs with documentation of BMP adequacy.

        4. Quigg ’s SWPPP fails to satisfy the requirements of Condition S3.B.2 of the Permits
because it fails to include a facility assessment as mandated. The SWPPP fails to include an
adequate facility assessment because it does not describe the industrial activities conducted at the
entire site, the general layout of the entire facility including buildings and storage of raw
materials, the flow of goods and materials through the entire facility as required.

         5. Quigg ’s SWPPP fails to satisfy the requirements of Condition S3.B.1 of the Permits
because it does not include a site map that identifies significant features, the stormwater drainage
and discharge structures, the stormwater drainage areas for each stormwater discharge point off-
site, a unique identifying number for each discharge point, each sampling location with a unique
identifying number, paved areas and buildings, areas of pollutant contact associated with specific
industrial activities, conditionally approved non-stormwater discharges, surface water locations,
areas of existing and potential soil erosion, vehicle maintenance areas, and lands and waters
adjacent to the site that may be helpful in identifying discharge points or drainage routes.

        6. Quigg ’s SWPPP fails to comply with Condition S3.B.2.b of the Permits because it
does not include an inventory of industrial activities that identifies all areas associated with
industrial activities that have been or may potentially be sources of pollutants as required. The
SWPPP does not identify all areas associated with loading and unloading of dry bulk materials or
liquids, outdoor storage of materials or products, outdoor manufacturing and processing, onsite
dust or particulate generating processes, on-site waste treatment, storage, or disposal, vehicle and
equipment fueling, maintenance, and/or cleaning, roofs or other surfaces exposed to air
emissions from a manufacturing building or a process area, and roofs or other surfaces composed
of materials that may be mobilized by stormwater as required by these conditions.




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        7. Quigg ’s SWPPP does not comply with Condition S3.B.2.c of the Permits because it
does not include an adequate inventory of materials. The SWPPP does not include an inventory
of materials that lists the types of materials handled at the site that potentially may be exposed to
precipitation or runoff and that could result in stormwater pollution, a short narrative for material
describing the potential for the pollutants to be present in stormwater discharge that is updated
when data becomes available to verify the presence or absence of the pollutants, a narrative
description of any potential sources of pollutants from past activities, materials and spills that
were previously handled, treated, stored, or disposed of in a manner to allow ongoing exposure
to stormwater as required. The SWPPP does not include the method and location of on-site
storage or disposal of such materials and a list of significant spills and significant leaks of toxic
or hazardous pollutants as these permit conditions require.

       8. Condition S3.B.4 of the Permits requires that permittees include in their SWPPPs and
implement mandatory BMPs. Quigg is in violation of this requirement because it has failed to
include in its SWPPP and implement the mandatory BMPs of the Per

        9. Quigg ’s SWPPP does not comply with Condition S3.B.4.b.i of the Permits because it
does not include and implement required operational source control BMPs. Quigg fails to include
operation source control BMPs in the following categories: good housekeeping (including the
definition of ongoing maintenance and cleanup of areas that may contribute pollutants to
stormwater discharges, and a schedule/frequency for each housekeeping task); preventive
maintenance (including BMPs to inspect and maintain stormwater drainage, source controls,
treatment systems, and plant equipment and systems, and the schedule/frequency for each task);
spill prevention and emergency cleanup plan (including BMPs to prevent spills that can
contaminate stormwater, for material handling procedures, storage requirements, cleanup
equipment and procedures, and spill logs); employee training (including an overview of what is
in the SWPPP, how employees make a difference in complying with the SWPPP, spill response
procedures, good housekeeping, maintenance requirements, and material management practices,
how training will be conducted, the frequency/schedule of training, and a log of the dates on
which specific employees received training); inspections and recordkeeping (including
documentation of procedures to ensure compliance with permit requirements for inspections and
recordkeeping, identification of personnel who conduct inspections, provision of a tracking or
follow-up procedure to ensure that a report is prepared and appropriate action taken in response
to visual monitoring, definition of how Quigg will comply with signature and record retention
requirements, and certification of compliance with the SWPPP and Permit).

        10. Quigg’s SWPPP does not comply with Condition S3.B.4.b.i.7 of the Permits because
it does not include measures to identify and eliminate the discharge of process wastewater,
domestic wastewater, noncontact cooling water, and other illicit discharges to stormwater
sewers, or to surface waters and ground waters of the state.

        11. Quigg ’s SWPPP does not comply with Condition S3.B.4.b.ii of the Permits because
it does not include required structural source control BMPs to minimize the exposure of
manufacturing, processing, and material storage areas to rain, snow, snowmelt, and runoff.




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        12. Quigg ’s SWPPP does not comply with Condition S3.B.4.b.iii of the Permits because
it does not include treatment BMPs as required.

        13. Quigg ’s SWPPP fails to comply with Condition S3.B.4.b.v of the Permits because it
does not include BMPs to prevent the erosion of soils or other earthen materials and prevent off-
site sedimentation and violations of water quality standards.

        14. Quigg ’s SWPPP fails to satisfy the requirements of Condition S3.B.5 of the Permits
because it fails to include a stormwater sampling plan as required. The SWPPP does not include
a sampling plan that: identifies points of discharge to surface waters, storm sewers, or discrete
ground water infiltration locations; documents why each discharge point is not sampled;
identifies each sampling point by its unique identifying number; identifies staff responsible for
conducting stormwater sampling; specifies procedures for sampling collection and handling;
specifies procedures for sending samples to the a laboratory; identifies parameters for analysis,
holding times and preservatives, laboratory quantization levels, and analytical methods; and
specifies the procedure for submitting the results to Ecology.

III.   MONITORING AND REPORTING VIOLATIONS

       A.      Failure to Collect Quarterly Samples

       Condition S4.B of the Permits requires Quigg to collect a sample of its stormwater
discharge once during every calendar quarter.

        Quigg violated this requirement by failing to collect stormwater samples from any of its
monitoring points during the second quarter of 2020, the third quarter of 2021, the first, second,
and third quarters of 2022, the second and third quarters of 2023, and the first and second
quarters of 2024. Quigg also violated this requirement by failing to collect stormwater samples
from monitoring point XSW during the fourth quarter of 2019. Quigg also violated this
requirement by failing to collect stormwater samples from monitoring points WSW, USW, and
ZSW during the third quarter of 2019.

         Additionally, Conditions S3.B.2.c of the 2015 Permit and S4.B.3.a of the 2020 Permit
require Quigg to collect stormwater samples at each distinct point of discharge offsite except for
substantially identical outfalls, in which case only one of the substantially identical outfalls must
be sampled. These conditions set forth sample collection criteria but require the collection of a
sample even if the criteria cannot be met. Quigg has multiple distinct points of discharge where
stormwater is leaving the facility that it is not sampling and analyzing appropriately, including
but not limited to the facility’s dock. Quigg is in violation of these conditions of the Permit by
failing to collect and analyze samples from each distinct point of discharge during every quarter
for the last five years. These violations will continue until Quigg commences proper monitoring
all distinct points of discharge.




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       B.      Failure to Correctly and Timely Submit Discharge Monitoring Reports

        Condition S9.B of the Permits requires Quigg to use DMR forms provided or approved
by Ecology to summarize, report and submit monitoring data to Ecology. For each monitoring
period (calendar quarter) a DMR must be completed and submitted to Ecology not later than 45
days after the end of the monitoring period.

        Quigg has violated these conditions by failing to submit a DMR within the time
prescribed for the second quarter of 2020, the third quarter of 2021, the first, second, and third
quarters of 2022, the second and third quarters of 2023, and the first and second quarters of 2024.

       C.      Violations of the Annual Report Requirements

        Condition S9.B of the 2015 Permit and Condition S9.C of the 2020 Permit require Quigg
to submit a complete and accurate Annual Report to Ecology no later than May 15th of each
year. The Annual Report must include corrective action documentation as required in Condition
S8.B–D of the Permits. If a corrective action is not yet completed at the time of submission of
the Annual Report, Quigg must describe the status of any outstanding corrective action. Specific
information to be included in the Annual Report is identification of the conditions triggering the
need for corrective action, description of the problem and identification of dates discovered,
summary of any Level One, Two, or Three Corrective Actions completed during the previous
calendar year, including the dates corrective actions completed, and description of the status of
any Level 2 or 3 Corrective Actions triggered during the previous calendar year, including
identification of the date Quigg expects to complete corrective actions.

        Quigg has violated and continues to violate these conditions by submitting its 2019
Annual Report and its 2020 Annual Report late. Quigg has also violated and continues to
violation these conditions by failing to submit a 2021 Annual Report and failing to submit a 2023
Annual Report.

       D.      Failure to Comply with Visual Monitoring Requirements

        Condition S7.A of the Permits requires that a monthly visual inspection be conducted at
the facility by qualified personnel. Condition S7.B of the Permits requires each inspection to
include observations made at stormwater sampling locations and areas where stormwater
associated with industrial activity is discharged; observations for the presence of floating
materials, visible oil sheen, discoloration, turbidity, odor, etc. in the stormwater discharges;
observations for the presence of illicit discharges; a verification that the descriptions of potential
pollutant sources required by the permit are accurate; a verification that the site map in the
SWPPP reflects current conditions; and an assessment of all BMPs that have been implemented
(noting the effectiveness of the BMPs inspected, the locations of BMPs that need maintenance,
the reason maintenance is needed and a schedule for maintenance, and locations where additional
or different BMPs are needed). Quigg has violated and continues to violate these requirements
because, for the last five years, it has failed to conduct each of the requisite visual monitoring
and inspections each and every month.




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        Condition S7.C of the Permits requires that Quigg record the results of each inspection in
an inspection report or checklist that is maintained on-site and documents the observations,
verifications, and assessments required. The report/checklist must include the time and date of
the inspection; the locations inspected; a statement that, in the judgment of the person conducting
the inspection and the responsible corporate officer, the facility is either in compliance or out of
compliance with the SWPPP and the Permit; a summary report and schedule of implementation
of the remedial actions Quigg plans to take if the site inspection indicates that the facility is out
of compliance; the name, title, signature and certification of the person conducting the facility
inspection; and a certification and signature of the responsible corporate officer or a duly
authorized representative. Quigg is in violation of these requirements because, for the last five
years, it failed to prepare and maintain the requisite inspection reports or checklists and failed to
make the requisite certifications and summaries.

IV.    CORRECTIVE ACTION VIOLATIONS

       A.    Violations of the Implementation of Source Control and Treatment BMPs

         Condition S8.A of the Permits require Quigg to implement any applicable Level One
Corrective Actions, Level Two Corrective Actions, or Level Three Corrective Actions or
Responses required by the previous Industrial Stormwater General Permit(s). Quigg is required
to continue to operate and/or maintain any source control or treatment BMPs related to Level
One Corrective Actions, Level Two Corrective Actions, or Level Three Corrective Actions or
responses implemented prior to the effective date of this permit. Quigg has failed and continues
to fail to operate and/or maintain source control or treatment BMPs.

       B.      Violations of the Level One Requirements

         Condition S8.B of the Permits require Quigg take specified actions, called a “Level One
Corrective Action,” each time quarterly stormwater sample results exceed a benchmark value or
are outside the benchmark range. Condition S5.A Table 2, Condition S5.A Table 3, and
Condition S6 Table 7 of the Permit establishes the following benchmarks applicable to Quigg:
turbidity 25 NTU; pH 5–9 SU; no visible oil sheen; total copper 14 µg/L; total zinc 117 µg/L;
total lead 81.6 µg/L; NWTPHDx 10 mg/L.

        As described by Condition S8.B of the Permit, a Level One Corrective Action requires
that within 14 days of receipt of sampling results that indicate a benchmark exceedance during a
given quarter; or, for parameters other than pH or visible oils sheen, the end of the quarter,
whichever is later, Quigg shall: (1) conduct an inspection to investigate the cause; (2) review the
SWPPP for the facility and ensure that it fully complies with Condition S3 of the Permit and
contains the correct BMPs from the applicable Stormwater Management Manual; (3) make
appropriate revisions to the SWPPP to include additional operational source control BMPs with
the goal of achieving the applicable benchmark values in future discharges; (4) summarize the
Level One Corrective Action in the Annual Report required under Condition S9.B of the Permit;
and (5) and sign, certify, and fully implement the revised SWPPP in accordance with Condition
S3 of the Permit and the applicable stormwater management manual as soon as possible, and no
later than the DMR due date for the quarter the benchmark was exceeded.



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         Quigg is in violation of the Level One Corrective Action requirements in the Permits for
failing to implement a Level One Corrective Action within 14 days of receipt or the end of the
quarter for its total copper exceedances reflected in Table 1 above (fourth quarter 2019, first
quarter 2020, and fourth quarter 2022).

        Quigg’s failures to comply with the Level One Corrective Action requirements include
the failure to conduct an inspection to investigate the cause; perform the required review;
revision and certification of the SWPPP; perform required implementation of additional BMPs;
complete an adequate summarization in the Annual Report; and sign, certify, and fully
implement the revised SWPPP in accordance with Condition S3 of the Permit each and every
time, during the last five years, when its quarterly stormwater sampling results were greater than
a benchmark or outside the benchmark range.

V.     VIOLATIONS OF THE RECORDKEEPING REQUIREMENTS

       A.      Failure to Record Information

        Condition S4.B.3 of the Permits requires Quigg to record and retain specified information
for each stormwater sample taken, including the sample date and time, a notation describing if
Quigg collected the sample within the first 12 hours of stormwater discharge event, an
explanation of Quigg could not collect a sample within the first 12 hours of a stormwater
discharge event, the sample location, method of sampling and of preservation, and the individual
performing the sampling. Quigg is in violation of these conditions as it has not recorded each of
these specified items for each sample taken during the last five years.

       B.      Failure to Retain Records

        Condition S9.C of the 2015 Permit and S9.D of the 2020 Permit require Quigg to retain
for a minimum of five years a copy of the current Permit, a copy of Quigg ’s coverage letter,
records of all sampling information, inspection reports including required documentation, any
other documentation of compliance with permit requirements, all equipment calibration records,
all BMP maintenance records, all original recordings for continuous sampling instrumentation,
copies of all laboratory results, copies of all required reports, and records of all data used to
complete the application for the Permit. Quigg is in violation of these conditions because it has
failed to retain records of such information, reports, and other documentation for the last five
years.

VI.    FAILURE TO REPORT PERMIT VIOLATIONS

        Condition S9.E of the 2015 Permit and S9.F of the 2020 Permit require Quigg to take
certain actions in the event it is unable to comply with any of the terms and conditions of the
Permit which may endanger human health or the environment or exceed any numeric effluent
limitation in the permit. In such circumstances, Quigg must immediately take action to minimize
potential pollution or otherwise stop the noncompliance and correct the problem, and Quigg must
immediately notify the appropriate Ecology regional office of the failure to comply. Quigg must



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then submit a detailed written report to Ecology, including specified details, within 5 days of the
time Quigg became aware of the circumstances unless Ecology requests an earlier submission.

       Quigg routinely violates these requirements, including each and every time it failed to
comply with the corrective action requirements described in section IV of this Notice of Intent to
Sue, and each and every time Quigg discharged stormwater with concentrations of pollutants in
excess of the Permit’s copper benchmark, as described in section I.A above. All these violations
may endanger human health or the environment.

VII.   VIOLATIONS OF THE RIGHT OF ENTRY AND INSPECTION

        Condition G3 of the Permits require Quigg to allow an authorized representative of
Ecology to enter its premises, to gain access to records, to inspect the facility, equipment,
practices, methods, and operations, and to sample substances or parameters for purposes of
assuring permit compliance.

        Quigg has violated these requirements by repeatedly denying Ecology entry and
inspection including but not limited to the following dates: August 3, 2023, August 22, 2023,
December 13, 2023, and February 22, 2024.

VIII. MODIFICATION OF PERMIT COVERAGE VIOLATIONS.
        Condition S2.B of the Permits requires Quigg to submit a complete Modification of
Coverage Form to Ecology when Quigg anticipates a significant process change. This
application for modification must be submitted at least 60 days prior to implementing a
significant process change. Quigg must complete the public notice requirements in WAC 173-
226-130(5) as part a complete application for modification of coverage. And Quigg must comply
with the State Environmental Protection Act (SEPA) as part of a complete application for
modification of coverage if undergoing a significant process change. Furthermore, general
condition G19 requires Quigg to, as soon as possible, give notice to Ecology of planned physical
alterations, modification or additions to the permitted industrial activity, which will result in a
significant process change. A “significant process change” is defined in the Permits at Appendix
2 as “any modification of the facility that would result in any of the following: (1) Add different
pollutants in a significant amount to the discharge, (2) Increase the pollutants in the stormwater
discharge by a significant amount, (3) Add a new industrial activity (SIC) that was not
previously covered, (4) Add additional impervious surface or acreage such that stormwater
discharge would be increased by 25% or more.”
         Quigg violated condition S2.B and G19 of the Permits by failing to apply for a
Modification of Coverage for a significant process change, including a failure to comply with the
public notice requirements and SEPA compliance requirements. The significant process change
at this facility was the initiation of marine construction activity or ship building activity. Quigg
was required to apply for a Modification of Permit coverage for this process change because the
ship building could add different pollutants in a significant amount to the discharge or increase
the pollutants in the discharge by a significant amount. Furthermore, ship building is a new
industrial activity with a different SIC and NAICS code that was not previously covered. The


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NAICS code for ship building and repairing is 336611 (SIC 3731). Currently, the only NAICS
codes associated with the facility are for heavy construction, deep sea foreign transportation of
freight, scrap and waste materials, and highway, street, and bridge construction (SIC codes 1629,
4412, 5093, and NAICS code 237310, respectively).

IX.    UNPERMITTED DISCHARGES

       The CWA, 33 U.S.C. §§ 1311(a), prohibits the discharge of pollutants, including
stormwater associated with industrial activity, to waters of the United States, except as
authorized by a NPDES permit. The Permits authorize only the discharges of stormwater and
pollutants contained in stormwater.

        Quigg has been engaged in ship building activities at its dock since at least April 27,
2024. As documented in Ecology’s inspection report, on July 24, 2024, Ecology Inspector
Adonia McKinzi observed and documented “unpermitted ship building activity.” The report
explains that “Ocean Protein contracted with Quigg Brothers to build their floating freezer” and
states that Quigg was in the process of ship building activity involving fabricated steel beams
and white insulating panels. The report notes that the inspector observed “metal fabrication
activity on a barge moored in water at the Quigg dock on the north bank of the Chehalis River.”
Ecology’s July 24, 2024 inspection report details that Ecology subsequently received a report
accompanied by a photograph evidencing that the marine vessel construction activity was
ongoing as of August 12, 2024. Similar evidence confirms that the same activity was still
ongoing as of August 21, 2024, and September 9, 2024. On September 10, 2024, Ecology
Inspectors again observed and documented ongoing marine vessel construction activity firsthand.

        Quigg’s ship building activity or marine vessel construction activity discharges
pollutants, including non-stormwater direct discharges of process wastewater, ballast water, and
solid debris, from the over-water area of its facility directly to the Chehalis River, which is a
water of the United States. Quigg’s ship building activities and all associated pollutant
discharges are not covered or permitted by the only NPDES permit for which its facility has
coverage, the ISGP.

        Quigg has therefore violated and continues to violate Section 301(a) of the CWA, 33
U.S.C. § 1311(a), by discharging pollutants from its facility to waters of the United States
without an applicable NPDES permit. The facility subject to this section of this notice includes
any contiguous or adjacent properties operated by Quigg. Quigg’s unpermitted discharges have
occurred each and every day since the vessel construction activity began and are ongoing
because they continue or are likely to recur. The violations alleged in this notice of intent to sue
will continue until Quigg obtains and comes into compliance with a NPDES permit authorizing
such discharges.

X.     REQUEST FOR SWPPP

        Pursuant to Condition S9.G of the 2020 Permit, WAP hereby requests that Quigg provide
a copy of, or access to, its current SWPPP complete with all incorporated plans, monitoring
reports, checklists, and training and inspection logs. The copy of the SWPPP and any other



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communications about this request should be directed to the undersigned at the letterhead
address.

        Should Quigg fail to provide the requested complete copy of, or access to, its SWPPP as
required by Condition S9.G of the 2020 Permit, it will be in violation of that condition, which
violation shall also be subject to this Notice of Intent to Sue and any ensuing lawsuit.

XI.    CONCLUSION

       The above-described violations reflect those indicated by the information currently
available to WAP. These violations are ongoing. WAP intends to sue for all violations, including
those yet to be uncovered and those committed after the date of this Notice of Intent to Sue.

         As described above, Quigg has violated and continues to violate effluent standards and
limitations under the CWA (see 33 U.S.C. § 1365(f)) including the terms and conditions of the
Permits with respect to operations of, and discharges of stormwater and pollutants from its
facility located at or about 1021 River Street, Aberdeen, Washington 98520 as described herein,
to the Chehalis River, which flows to Grays Harbor. Quigg has also violated and continues to
violate Section 301(a) of the CWA, 33 U.S.C. § 1311(a), by discharging pollutants from its ship
building operation to the Chehalis River without a NPDES permit.

        Under Section 309(d) of the CWA, 33 U.S.C. § 1319(d), each of the above-described
violations subjects the violator to a penalty of up to $37,500 per day for each violation that
occurred through November 2, 2015, and $66,712 per day for each violation that occurred
thereafter. 40 CFR 19.4. In addition to civil penalties, WAP will seek injunctive relief to prevent
further violations under Sections 505(a) and (d) of the CWA, 33 U.S.C. § 1365(a) and (d), and
such other relief as is permitted by law. Also, Section 505(d) of the CWA, 33 U.S.C. § 1365(d),
permits prevailing parties to recover costs, including attorney’s fees.

        WAP believes that this NOTICE OF INTENT TO SUE sufficiently states grounds for
filing suit. We intend, at the close of the 60-day notice period, or shortly thereafter, to file a
citizen suit against Quigg under Section 505(a) of the Clean Water Act for violations.

        During the 60-day notice period, we would be willing to discuss effective remedies for
the violations addressed in this letter and settlement terms. If you wish to pursue such
discussions in the absence of litigation, we suggest that you initiate those discussions within 10
days of receiving this notice so that a meeting can be arranged and so that negotiations may be
completed promptly. We do not intend to delay the filing of a complaint if discussions are
continuing when the notice period ends.

                                               Sincerely,

                                               Smith & Lowney, PLLC

                                               By: s/Alyssa Koepfgen
                                               Alyssa Koepfgen


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                                        Katelyn Kinn


cc:   Michael Regan, Administrator, U.S. EPA
      Casey Sixkiller, Acting Region 10 Administrator, U.S. EPA
      Laura Watson, Director, Washington Department of Ecology
      Registered Agent, Fairchild Record Search, Ltd. (PO Box 1368, Olympia, WA 98507-
      1368)




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